Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 1 of 7




    EXHIBIT 5
       Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 2 of 7




                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                     BOSTON DIVISION


  STUDENTS FOR FAIR ADMISSIONS, INC,

               Plaintiff,

               v.

  PRESIDENT AND FELLOWS OF                             Civil Action No. 1:14-cv-14176-ADB
  HARVARD COLLEGE (HARVARD
  CORPORATION),                                       Leave to file granted on July 31, 2018
               Defendant.




                          DECLARATION OF CATHERINE HO
                     (ASIAN AMERICAN WOMEN’S ASSOCIATION)

       Catherine Ho, pursuant to 28 U.S.C. Section 1746, declares the following:

       1.     My name is Catherine Ho, and I am over 18 years of age and fully competent to

make this Declaration. I am writing this Declaration on behalf of Harvard Asian American

Women’s Association to support the continuation of race-conscious admissions policies for

Harvard College.

       2.     Along with Stephanie Tang, I am Co-President of the Asian American Women’s

Association (“AAWA”). After discussion with AAWA’s board members, I have received approval

and authority to submit this declaration on behalf of AAWA.

       3.     AAWA was created in 2005 as an inclusive, welcoming space for those on campus

who identify as Asian American women, including those who identify as gender non-conforming.

AAWA’s mission is to be a space where students can learn from each other, including both

commonalities and differences. Our founding members felt that Harvard students needed a
        Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 3 of 7




community that was non-competitive and open to understanding each other’s experiences—a

community that at the time they felt Harvard was lacking. Thus, membership to AAWA is open to

anyone with no membership fees or requirements. AAWA was intentionally designed so that

students would not feel as though they had to be a certain type of person or fit a particular mold to

be included. Because AAWA values every lived experience as inherently valid, it has been

committed to diversity and supporting fellow students from the very beginning of its existence.

AAWA has and always will endeavor to foster a sense of belonging for people of very different

backgrounds.

       4.      The Harvard administration has not done enough to foster inclusion. When you ask

students to describe a typical Harvard student, a lot of them will respond by describing someone

other than themselves. Harvard has historically served people of a certain gender, sex, race,

economic background, or family lineage. If someone does not fit any of those specified categories,

that person often does not feel like a “Harvard Student” despite having been admitted. Having safe

spaces where students realize that they are not alone with these feelings is very important to our

members, especially when the Harvard administration does not itself provide that support.

       5.      AAWA strives to address these needs and goals through open and accessible

community-building events and dialogue events. Community-building events are more inward

looking and are positioned as a way for those who are in AAWA and those interested in the

organization or its mission to simply come together and enjoy each other’s company. These events

serve to foster a sense of belonging within the larger Asian American Pacific Islander (“AAPI”)

community at Harvard and between various other organizations of color on campus, as well as

build connections between students of a wide variety of backgrounds. AAWA also holds dialogue

events, during which attendees discuss substantial issues that impact the AAPI community, both



                                                 2
        Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 4 of 7




on campus and at large. In this last year, we have held dialogue events about anti-black racism in

the AAPI community, sexual assault in the AAPI community, and being an Asian American

woman in graduate school, to name a few. However, we do not focus extensively on the distinction

between dialogue and community events; the community-building events are important to build

relationships and trust so that, through the dialogue, we can open up a space where people can be

vulnerable. By generating discussion about and spreading awareness of issues that pertain to the

varied, intersectional identities of the members of our community, AAWA seeks to promote the

prominence and concerns of Harvard’s female and non-binary Asian American Pacific Islander

population in a way that is accessible and pertinent to the greater Harvard community.

       6.      AAWA has allowed me to explore how facets of my identity interact with each

other and I really needed a space to do that at Harvard. AAWA’s focus on intersectionality matters

a lot to me because my identity isn’t just being Asian American, or Vietnamese American, or a

woman, or first-generation status—it’s the intersectionality of that. I am Vietnamese American.

My parents were refugees who came to America because of the war. We are systemically

underrepresented in institutions of higher education. That’s why it is really important to

disaggregate data for Asian American subgroups because our experiences are not monolithic,

especially for the Southeast Asian community. But I also identify as an Asian American. When

people see me, they say I am Asian because they can’t discern what ethnicity I am, but being Asian,

a lot of expectations are placed on me, and a lot of my peers in high school thought my parents

were doctors or engineers. In reality, I didn’t have a lot of the opportunities that my peers did.

       7.      Reflecting on my own application process, I wrote about the Vietnamese language

and the lack of conjugation and how that has so greatly shaped how my parents, refugees, have

refused to dwell on the past and continue to march bravely into the future. I also wrote about how



                                                  3
        Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 5 of 7




volunteering and tutoring at the refugee community center my mother first utilized upon her arrival

in America showed me the truly personal impact of community service. Finally, I wrote about how

a trip to Vietnam informed me of my unique identity as a first-generation Vietnamese-American

and how that trip allowed me to come to terms with the tension of not being “American” enough

or not “Asian” enough. My race is integral to my identity and had race-conscious admissions been

eliminated, I would not have been able to convey such a large part of who I am and what has

shaped me.

       8.      AAWA has decided to partake in this lawsuit because we believe firmly that a rising

tide lifts all boats and that the maintenance of race-conscious admissions policies is integral to

preserving the unique Harvard experience. The idea that communities of color must fight over

limited space in college admissions is inherently in conflict with our values as an organization

dedicated to diversity and inclusion. Race-conscious college admissions is not a zero-sum game;

we all benefit from increased diversity. Asian Americans have so much to offer due to our

experiences with race and our experiences with other cultures, but other communities of color offer

perspectives that we simply do not and cannot. Our experiences do not and should not come at the

expense of other communities of color; it is vital to be in solidarity with and to lift up these other

communities of color.

       9.      Having many students of different races on campus contributes to the richness of

the fabric of Harvard College and the experiences that our and other organizations provide. AAWA

collaborates a great deal with other women of color organizations and other organizations of color

on and off campus for multiple events throughout the year. There is so much emotional burden

placed on people of color, specifically women of color, which is why it is so critically important

to have other women of color present as allies. We have particularly close relationships with three



                                                  4
        Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 6 of 7




major women of color organizations on campus—Association of Black Harvard Women (ABHW),

Latinas Unidas (LU), and South Asian Women’s Collective (SAWC). Started by AAWA,

WOCtails is one of our largest and most popular community-building events and is held jointly by

AAWA and the three women of color organizations listed; the event brings our communities

together and provides an opportunity to engage in meaningful conversation and enjoy each other’s

company. Other jointly held events provide spaces to discuss our shared experiences as women of

color, as well as identify how our experiences may differ.

       10.     While we recognize that there are nuances that race conscious admissions does not

fully consider, we also think it is of utmost importance that we stand for the principles of diversity

and inclusion and that we resist the false narrative that is being spun by individuals who do not

have the full interests of the AAPI community at heart.

       11.     We are frustrated and confused by the data released that suggests problems with

how Harvard admissions officers have profiled and described Asian American applicants.

However, we must be careful not to conflate society’s tendency to view the AAPI experience as a

monolithic one with any effects of race-conscious admissions. The problem of seeing AAPI

applicants as somehow less likeable or personable may stem from the lack of implicit bias training

for Asian American students or from ways that principals and teachers describe students. It cannot

be stressed enough that any potential implicit bias in Harvard admissions does not stem from the

consideration of race in admissions.

       12.     If all considerations of race were to be eliminated from Harvard’s admissions

process, Harvard students, including AAWA members, would lose a lot of perspectives that enable

us to learn for our peers. Some of our members come from areas where everyone around is Asian

or primarily East Asian. Being from communities that are exclusively one race prevents self-



                                                  5
       Case 1:14-cv-14176-ADB Document 471-4 Filed 08/03/18 Page 7 of 7




reflection and eliminates any possibility of listening to and learning from other communities of

color. It would be impossible for Harvard students to reflect on our own identities if we cannot

interreact with students who are different from us.

       13.     Harvard is special because learning is not limited to the classroom and there are

opportunities to interact with people who we might never meet otherwise. This variety of

experiences is partially reinforced though the application of race-conscious admissions policies.

Everyone is an expert in their own experience. If experts of certain experiences are excluded from

Harvard, we have fewer people to learn from; it would be like going to the history section of the

library and reading a single random page of every seventh book on the shelf. We would lose the

ability to form a robust and complex understanding of lived experiences that are dissimilar from

our own and I cannot fathom how that could be beneficial to anyone.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this day, July 28, 2018

                                                             /s/ Catherine Ho
                                                              Catherine Ho




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